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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF NEBRASKA


   JOHN M. GRUTTEMEYER, an

                individual, Plaintiff,               Case No.8:18-cv-70



   v.

   THE TRANSIT AUTHORITY OF THE
   CITY OF OMAHA D/B/A METRO AREA                                COMPLAINT
   TRANSIT, a Nebraska corporation, and
   TRANSPORTATION WORKERS UNION                           JURY TRIAL DEMANDED
   OF AMERICA, LOCAL 223

                                                            Place of Trial: Omaha
             Defendants.



        1.    John M. Gruttemeyer (“Mr. Gruttemeyer”) worked as a utility placer for

The Transit Authority of The City of Omaha d/b/a Metro Area Transit (“Metro” or “the

Company”) until he was terminated on July 7, 2016. Mr. Gruttemeyer also served as

the Vice President of Transportation Workers Union of America, AFL-CIO, Local 223

(“TWU Local 223”) until March 1, 2016.

        2.    As a utility placer, Mr. Gruttemeyer fueled, washed and parked busses

as they returned to Metro’s main office.

        3.    Mr. Gruttemeyer suffers from bi-polar disorder. Bi-polar disorder is a

medically recognized disability that causes sleep difficulties, difficulty concentrating

and challenges with social interactions.         Mr. Gruttemeyer was hospitalized for

intensive treatment of bipolar disorder




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      4.      On or around December 14, 2015, Mr. Gruttemeyer assisted co-worker

James Miller with an age discrimination complaint that Mr. Miller brought to manager

Curt Simon.

      5.      After a Union meeting on January 15, 2016, TWU Local 223 President

Joe Boncardo (“Boncardo”) told Union Steward Dave Gillespie (“Gillespie”) that

Boncardo could not get along with Mr. Gruttemeyer because “that guy is crazy and

he’s out of control.” Boncardo also called Mr. Gruttemeyer a “nut case,” and invited

TWU Local 223 members to confirm Boncardo’s assessment by performing a Google

search using the terms “John Gruttemeyer” and “firefighter.”

      6.      On February 22, 2016, Boncardo delivered formal charges against Mr.

Gruttemeyer alleging that Mr. Gruttemeyer “violated the Constitution and By-Laws of

the International and Local in his unbecoming conduct” by, among other things,

assisting Mr. Miller in his age discrimination complaint to Curt Simon.

      7.      Boncardo delivered his “formal charges” to Mr. Gruttemeyer during Mr.

Gruttemeyer’s shift and on company time in violation of Metro’s policies. Boncardo

did so in an attempt to instigate an altercation with Mr. Gruttemeyer.

      8.      Mr. Gruttemeyer responded by stating that charges were “trumped up”

and calling the charges “bullshit.” Boncardo threatened to report Mr. Gruttemeyer’s

off-color language to Kelly Shadden (“Shadden”).         Mr. Gruttemeyer agreed to

accompany Boncardo while he made the report. On the way to Shadden’s office,

Boncardo told Mr. Gruttemeyer that he was “not right in the head” and needed to “get

some help.” After remaining silent for the duration of Boncardo’s attack on his mental




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health, Mr. Gruttemeyer became angry and reciprocated Boncardo’s insults. Mr.

Gruttemeyer never threatened Boncardo during this confrontation.

       9.      That same day, Metro suspended Mr. Gruttemeyer with pay, allegedly

for threatening co-worker and TWU Local 223 President Joe Boncardo.                Mr.

Gruttemeyer was suspended “pending an investigation.”

       10.     On March 14, 2016, shortly after Metro suspended Mr. Gruttemeyer, Mr.

Miller submitted to Maintenance Supervisor Glenn Bradley a complaint regarding

multiple incidents where Boncardo physically and verbally threatened Mr. Miller with

violence. Despite Mr. Miller’s detailed and well-supported complaint to management,

Boncardo was never reprimanded or suspended.

       11.     Metro allowed Mr. Gruttemeyer to return to work on May 13, 2016, only

to send him home that same day to continue his suspension.

       12.     On June 17, 2016, Mr. Gruttemeyer submitted a letter to Curt Simon

detailing Metro and TWU Local 223’s acts of discrimination against Mr. Gruttemeyer

on the basis of his disability and for representing Mr. Miller.

       13.     On the same day, Gillespie submitted a second letter in support of Mr.

Gruttemeyer, this time to Curt Simon. Gillespie again offered his account of the events

that transpired on February 22, 2016, which corroborated Mr. Gruttemeyer’s account.

Gillespie further described      Boncardo’s discriminatory behavior toward         Mr.

Gruttemeyer.

       14.     In total, Metro’s suspension of Mr. Gruttemeyer dragged on for nearly

five (5) months. Metro ultimately terminated Mr. Gruttemeyer on July 7, 2016.




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       15.        Mr. Gruttemeyer submitted witness statements and employee reports

that demonstrated he did not threaten Boncardo. Metro ignored all evidence Mr.

Gruttemeyer submitted.

       16.        On July 9, 2016, Mr. Gruttemeyer requested TWU Local 223 take his

termination to arbitration.

       17.        On August 2, 2016, TWU Local 223 informed Mr. Gruttemeyer by letter

that it would not arbitrate his termination.



                                   VENUE & JURISDICTION

       18.        This matter arises under federal and state law. This Court has jurisdiction

of this matter pursuant to 28 U.S.C. § 1331 based on Mr. Gruttemeyer’s federal claims

in this Complaint. This Court has supplemental jurisdiction of the Nebraska state law

claims pursuant to 28 U.S.C. § 1367.

            19.     Venue is proper in this District pursuant to 28 U.S.C § 1391(b)(2),

  because the acts forming the basis for this Complaint were orchestrated from,

  planned in and conducted in this District.

            20.     Mr. Gruttemeyer dual filed charges of disability discrimination and

  retaliation against Metro with the Nebraska Equal Opportunity Commission (“NEOC”)

  and the Equal Employment Opportunity Commission (“EEOC”). See NEOC Charge

  NEB 2-16/17-8-47783-RD; EEOC Charge No. 32E-2016-00753. The EEOC issued

  its Notice of Right to Sue on January 8, 2018. (A true and correct copy of the EEOC

  Notice of Right to Sue is attached as Exhibit A and incorporated here as if fully set

  forth.)



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          21.   Mr. Gruttemeyer also dual filed charges of disability discrimination and

retaliation against TWU Local 223 with the NEOC and EEOC. See NEOC Charge

NEB 1-16/17-7-48135-RD; EEOC Charge No. 32E-2016-00665. The EEOC issued

its Notice of Right to Sue on January 8, 2018. (A true and correct copy of the EEOC

Notice of Right to Sue is attached as Exhibit B and incorporated here as if fully set

forth.)



                                      PARTIES
          22.   Mr. Gruttemeyer is a former Metro utility placer who suffers from a

disability. He is a citizen and resident of Papillion, Nebraska.

          23.   Metro is a governmental subdivision of the State of Nebraska. Metro is

located at 2222 Cuming Street, Omaha, NE 68102. Since May 31, 1972, Metro has

provided public transportation services to Omaha and the surrounding metropolitan

area.

          24.   TWU Local 223 is an organization consisting of city bus drivers,

mechanics and maintenance workers employed by Metro, a governmental subdivision

of the State of Nebraska. TWU Local 223 is the recognized bargaining agent of these

employees. TWU Local 223 has in force a collective bargaining agreement (“CBA”)

with Metro.




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                        STATE AND FEDERAL LAW PROHIBIT
                       DISCRIMINATION BASED ON DISABILITY
                         Americans With Disabilities Act Of 1990
                               42 U.S.C. § 12101 et seq.
                               Neb. Rev. Stat. § 48-1104

         25. The Americans with Disabilities Act (“ADA”), prohibits discrimination

against a qualified individual with respect discharge. Under the ADA, an individual is

"disabled" if he satisfies one of three conditions:

              he has a physical or mental impairment that substantially
              limits one or more of her major life activities; (2) has a record
              of such an impairment; or (3) is regarded by her employer
              as having such an impairment.

   42 U.S.C. § 12102(1).

       26.    A disabled individual must demonstrate impairment that "substantially

limits" one or more major life activities. 42 U.S.C. § 12102(2). According to the ADA

Amendments of 2008, effective January 1, ,2009, “substantially limits” shall be construed

broadly in favor of expansive coverage, to the maximum extent permitted by the terms of

the ADA. 29 C.F.R. § 1630.2(j)(1). "Major life activities" include, but are not limited to,

“caring for oneself, performing manual tasks, sleeping, walking, standing, lifting, bending,

speaking, breathing, learning, reading, concentrating, thinking, communicating and

working.” 42 U.S.C.A. § 12102(2)(A).




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                                       CLAIM ONE

                        METRO VIOLATED STATE & FEDERAL
                                 LAW PROHIBITING
                       DISCRIMINATION BASED ON DISABILITY
                         Americans With Disabilities Act Of 1990
                               42 U.S.C. § 12101 et seq.
                               Neb. Rev. Stat. § 48-1104

         27.   Mr. Gruttemeyer incorporates by reference paragraphs 1-26, as if fully set

forth.

         28.   Mr. Gruttemeyer has been diagnosed with bipolar disorder. Bipolar disorder

causes Mr. Gruttemeyer difficulties with sleep, concentration and social interaction.

         29.   Mr. Gruttemeyer is under the supervision of a doctor to help manage the

symptoms of his bipolar disorder.

         30.   Metro was aware of Mr. Gruttemeyer’s bipolar disorder and treated Mr.

Gruttemeyer differently from other employees on the basis of his bipolar disorder.

         31.   Metro claims it suspended and ultimately terminated Mr. Gruttemeyer

based on Boncardo’s claim that Mr. Gruttemeyer threatened him. Metro’s excuse is not

believable. In fact, when Boncardo, a non-disabled co-worker, was accused of the same

or similar conduct, Metro neither suspended nor terminated him.

         32.   Metro was aware that Mr. Gruttemeyer’s co-worker, Boncardo, was

subjecting Mr. Gruttemeyer to a hostile work environment based on his disability. Even

though Metro knew about Boncardo’s ongoing harassment of Mr. Gruttemeyer, Metro did

nothing.

         33.   There is no legitimate basis justifying Metro’s discriminatory treatment of
Mr. Gruttemeyer simply because he was diagnosed with bipolar disorder.




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                                        CLAIM TWO
                           METRO VIOLATED FEDERAL
                    LAW PROHIBITING DISCRIMINATION BASED ON
                              RECORD OF DISABILITY
                        Americans With Disabilities Act Of 1990
                              42 U.S.C. § 12101 et seq.
                              Neb. Rev. Stat. § 48-1104

         34.    Mr. Gruttemeyer incorporates by reference paragraphs 1-33, as if fully set

forth.

         35.    Mr. Gruttemeyer has a record of being diagnosed with bipolar disorder.

         36.    Metro was aware of Mr. Gruttemeyer’s record of being diagnosed with

bipolar disorder and treated Mr. Gruttemeyer differently from other employees on the

basis of his record of having bipolar disorder.

         37.    Metro claims it suspended and ultimately terminated Mr. Gruttemeyer

based on Boncardo’s claim that Mr. Gruttemeyer threatened him. Metro’s excuse is not

believable. In fact, when Boncardo, a co-worker with no record of disability, was accused

of the same or similar conduct, Metro neither suspended nor terminated him.

         38.    Metro was aware that Mr. Gruttemeyer’s co-worker, Boncardo, was

subjecting Mr. Gruttemeyer to a hostile work environment based on his record of

disability.    Even though Metro knew about Boncardo’s ongoing harassment of Mr.

Gruttemeyer, Metro did nothing.

         39.    There is no legitimate basis justifying Metro’s discriminatory treatment of

Mr. Gruttemeyer simply because he has a record of being diagnosed with bipolar

disorder.




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                                     CLAIM THREE
                      TWU LOCAL 223 VIOLATED STATE & FEDERAL
                                  LAW PROHIBITING
                        DISCRIMINATION BASED ON DISABILITY
                          Americans With Disabilities Act Of 1990
                                42 U.S.C. § 12101 et seq.
                                Neb. Rev. Stat. § 48-1104

         40.    Mr. Gruttemeyer incorporates by reference paragraphs 1-39, inclusive, as

if fully set forth.

         41.    TWU Local 223 discriminated against Mr. Gruttemeyer based on his

disability by subjecting him to a hostile work environment based on his disability.

Specifically, TWU Local 223 President Joe Boncardo made derogatory and hateful

comments about Mr. Gruttemeyer’s disability to Mr. Gruttemeyer and other union

members. For example, Mr. Boncardo regularly called Mr. Gruttemeyer “crazy,” “out of

control,” “not right in the head,” and said that Mr. Gruttemeyer needed to “get some

help.”

         42.    TWU Local 223 discriminated against Mr. Gruttemeyer based on his

disability by forcing him to resign his position as TWU Local 223 Vice President.

         43.    TWU Local 223 further discriminated against Mr. Gruttemeyer based on

his disability by directly undermining Mr. Gruttemeyer in his position at Metro and

bringing accusations against Mr. Gruttemeyer that ultimately cost Mr. Gruttemeyer his

job.

         44.    TWU Local 223 discriminated against Mr. Gruttemeyer based on his

disability by failing to provide Mr. Gruttemeyer with meaningful representation in his

multiple grievances with Metro. TWU Local 223 represented Mr. Gruttemeyer in name




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only and refused to advocate on his behalf in spite of his requests that he receive union

representation.



                                    CLAIM FOUR
                     TWU LOCAL 223 VIOLATED STATE & FEDERAL
                                 LAW PROHIBITING
                  DISCRIMINATION BASED ON PERCEIVED DISABILITY
                         Americans With Disabilities Act Of 1990
                               42 U.S.C. § 12101 et seq.
                               Neb. Rev. Stat. § 48-1104

        45.     Mr. Gruttemeyer incorporates by reference paragraphs 1-44, inclusive, as

if fully set forth.

        46.     TWU Local 223 discriminated against Mr. Gruttemeyer based on his

perceived disability by subjecting him to a hostile work environment based on his

perceived disability.    Specifically, TWU Local 223 President Joe Boncardo made

derogatory and hateful comments about Mr. Gruttemeyer’s perceived disability to Mr.

Gruttemeyer and other union members. For example, Mr. Boncardo regularly called

Mr. Gruttemeyer “crazy,” “out of control,” “not right in the head,” and said that Mr.

Gruttemeyer needed to “get some help.” To further his humiliation of Mr. Gruttemeyer,

Boncardo encouraged co-workers and fellow union members to look into Mr.

Gruttemeyer’s history of disability, even providing them with the search terms that would

lead them to learn more about Mr. Gruttemeyer’s disability.

        47.     TWU Local 223 discriminated against Mr. Gruttemeyer based on his

perceived disability by forcing him to resign his position as TWU Local 223 Vice

President.




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        48.     TWU Local 223 further discriminated against Mr. Gruttemeyer based on

his perceived disability by directly undermining Mr. Gruttemeyer in his position at Metro

and bringing accusations against Mr. Gruttemeyer that ultimately cost Mr. Gruttemeyer

his job.

        49.     TWU Local 223 discriminated against Mr. Gruttemeyer based on his

perceived disability by failing to provide Mr. Gruttemeyer with meaningful

representation in his multiple grievances with Metro. TWU Local 223 represented Mr.

Gruttemeyer in name only and refused to advocate on his behalf despite of his requests

that he receive union representation.



                                      CLAIM SIX
                     TWU LOCAL 223 VIOLATED STATE & FEDERAL
                                 LAW PROHIBITING
                  DISCRIMINATION BASED ON RECORD OF DISABILITY
                         Americans With Disabilities Act Of 1990
                               42 U.S.C. § 12101 et seq.
                               Neb. Rev. Stat. § 48-1104

        50.     Mr. Gruttemeyer incorporates by reference paragraphs 1-49, inclusive, as

if fully set forth.

        51.     TWU Local 223 discriminated against Mr. Gruttemeyer based on his

record of disability by subjecting him to a hostile work environment based on his record

disability. Specifically, TWU Local 223 President Joe Boncardo made derogatory and

hateful comments about Mr. Gruttemeyer’s record of disability to Mr. Gruttemeyer and

other union members. For example, Mr. Boncardo regularly called Mr. Gruttemeyer

“crazy,” “out of control,” “not right in the head,” and said that Mr. Gruttemeyer needed

to “get some help.”



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        52.     TWU Local 223 discriminated against Mr. Gruttemeyer based on his

record of disability by forcing him to resign his position as TWU Local 223 Vice

President.

        53.     TWU Local 223 further discriminated against Mr. Gruttemeyer based on

his record disability by directly undermining Mr. Gruttemeyer in his position at Metro

and bringing accusations against Mr. Gruttemeyer that ultimately cost Mr. Gruttemeyer

his job.

        54.     TWU Local 223 discriminated against Mr. Gruttemeyer based on his

record of disability by failing to provide Mr. Gruttemeyer with meaningful representation

in his multiple grievances with Metro. TWU Local 223 represented Mr. Gruttemeyer in

name only and refused to advocate on his behalf in spite of his requests that he receive

union representation.



                                    CLAIM SEVEN
                       METRO VIOLATED STATE & FEDERAL
                                 LAW PROHIBITING
                RETALIATION FOR ENGAGING IN PROTECTED ACTIVITY
                     Age Discrimination in Employment Act of 1967
                                29 U.S.C. §623 et seq.
                               Neb. Rev. Stat. §48-1104
        55.     Mr. Gruttemeyer incorporates by reference paragraphs 1-54, inclusive, as

if fully set forth.

        56.     The Age Discrimination in Employment Act of 1967 prohibits employers

from discriminating against employees because such individual has opposed age

discrimination. 29 U.S.C. §623(d).

        57.     Mr. Gruttemeyer assisted his co-worker, Mr. Miller, in raising an age

discrimination complaint at Metro.


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        58.     Mr. Gruttemeyer opposed Metro’s discriminatory treatment of Mr. Miller.

        59.     Due to Mr. Gruttemeyer assisting his co-worker with his age

discrimination complaint, Metro suspended and ultimately terminated Mr. Gruttemeyer.

        60.     Metro’s alleged reason for terminating Mr. Gruttemeyer – an alleged

verbal altercation with a co-worker- is not to be believed. Boncardo, another Metro

employee engaged in the same or similar conduct and was not suspended or

terminated.

        61.     There is no legitimate basis justifying Metro’s retaliatory termination of Mr.

Gruttemeyer.



                                    CLAIM EIGHT
                   TWU LOCAL 223 VIOLATED STATE & FEDERAL
                                 LAW PROHIBITING
                RETALIATION FOR ENGAGING IN PROTECTED ACTIVITY
                     Age Discrimination in Employment Act of 1967
                                29 U.S.C. §623 et seq.
                               Neb. Rev. Stat. §48-1104
        62.     Mr. Gruttemeyer incorporates by reference paragraphs 1-61, inclusive, as

if fully set forth.

        63.     The Age Discrimination in Employment Act of 1967 prohibits labor

organizations from discriminating against employees because such individual has

opposed age discrimination. 29 U.S.C. §623(d).

        64.     Mr. Gruttemeyer assisted his co-worker, Mr. Miller, in raising an age

discrimination complaint at Metro.

        65.     Mr. Gruttemeyer opposed Metro’s discriminatory treatment of Mr. Miller.

        66.     TWU Local 223 President Boncardo brought formal charges against Mr.

Gruttemeyer based on Mr. Gruttemeyer’s representation of Mr. Miller.


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       67.   Due to Boncardo’s charges against him, Mr. Gruttemeyer felt he had no

choice but to resign his position as TWU Local 223 Vice President.

       68.   In further retaliation for Mr. Gruttemeyer representing Mr. Miller, TWU

Local 223 attempted to deprive Mr. Gruttemeyer of employment opportunities by

undermining Mr. Gruttemeyer’s position at Metro and bringing false accusations against

him.



                               REQUEST FOR RELIEF

   WHEREFORE, Mr. Gruttemeyer requests for judgment ordering:

       1.     An award of damages relating to Mr. Gruttemeyer’s lost wages and future
              wages;

       2.     An award of damages relating to Mr. Gruttemeyer’s fringe benefits;

       3.     An award of damages relating to Mr. Gruttemeyer’s emotional pain and
              suffering, inconvenience, mental anguish, and loss of enjoyment of life;

       4.     An award of damages relating to Mr. Gruttemeyer’s out-of-pocket
              expenses for medical treatment; ordering other general, special or
              liquidated damages as proven at trial;

       5.     An award of costs and attorney fees to Mr. Gruttemeyer against Metro;
              as allowed by law, and


       6.     Any further legal or equitable relief as the Court may deem appropriate




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                     PLAINTIFF DEMANDS TRIAL BY JURY.

Date: February 16, 2018

                                   JOHN M. GRUTTEMEYER, Plaintiff,

                                By: /s/ Alexis S. Mullaney
                                   Alexis S. Mullaney, #25908
                                   CARLSON & BURNETT LLP
                                   17525 Arbor Street
                                   Omaha, NE 68130
                                   Main: (402) 934-5500
                                   Direct: (402) 68952-4175
                                   Attorneys for Plaintiff
                                   alexis@carlsonburnett.com




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